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            EXHIBIT D
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 2

 3            IN THE SUPERIOR COURT OF THE STATE OF CALIFORNIA
 4                     IN AND FOR THE COUNTY OF ALAMEDA
 5           BEFORE THE HONORABLE THOMAS EAGLE WEATHERS, JUDGE

 6                                DEPARTMENT 510
 7

 8

 9    RULA NABIL CAVACO DIAS,
10                     Petitioner,             No. 24FL092755

11    VS.
12    CASIMIRO JOSE CAVACO DIAS,
13                     Respondent.

14    ___________________________________/
15

16                                  FAMILY LAW

17                            HAYWARD HALL OF JUSTICE
18                               FEBRUARY 5, 2025

19

20    A P P E A R A N C E S:
21

22    FOR THE PETITIONER:
                                      MICHELLE JACOBSON-KWOK,
23                                    ATTORNEY AT LAW
24

25

26    FOR THE RESPONDENT:              LESLIE AZCONA,
                                       ATTORNEY AT LAW
27

28

                                  ANITA CRUZ
                                   CSR #6839
                         CERTIFIED SHORTHAND REPORTER
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 1    FEBRUARY 5, 2025
 2                            P R O C E E D I N G S

 3                                     ---oOo---
 4               THE COURT:     Line number one and two, Cavaco Dias

 5    versus Cavaco Dias.

 6               THE CLERK:     Do you solemnly swear the testimony you

 7    are about to give in the matter now pending will be the truth,

 8    the whole truth and nothing but the truth?

 9               MS. AZCONA:     Leslie Azcona.     I'm specially appearing

10    on behalf of Respondent.

11               THE COURT:     We'll swear in the one person.

12               THE CLERK:     Do you solemnly swear the testimony you

13    are about to give in the matter now pending will be the truth,

14    the whole truth and nothing but the truth?

15               MS. DIAS:     I do.    Rula Nabil Cavaco Dias.

16               MS. JACOBSON-KWOK:       Michelle Jacobson-Kwok appearing

17    for and with Rula Cavaco Dias.

18               MS. FLORES:     Ruby Flores, F-l-o-r-e-s of Gibson

19    Dunn.

20               THE COURT:     Law firm and for --

21               MS. AZCONA:     I am specially appearing, Leslie

22    Azcona.   I'm an attorney.       Your Honor, are you going to be

23    taking argument from both counsel or just --

24               THE COURT:     Generally I hear from one counsel.

25               MS. JACOBSON-KWOK:       As a preliminary matter, Your

26    Honor, I also do -- before I answer that.          I also want to flag

27    for you we do have a witness here in the courtroom.

28    Mr. Damon Pulido who is our process server for the dissolution

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 1    herself, right.

 2                 Mr. Dias eight days before trial moved to dismiss

 3    his case with prejudice which is basically unheard of.               We

 4    have very strong evidence that he could not prove that Armenia

 5    was the habitual residence.        We had strong evidence of

 6    spoilation of abuse of text messages and abusive calls.                  Many

 7    of which were made to her while she was in California.               She

 8    was receiving abusive text messages.           She was receiving from

 9    Mr. Dias these text messages, calls just relentlessly while

10    she was in California with the children.

11                 THE COURT:     Let me stop you so I'm clear.         Did an

12    Armenian court take jurisdiction over the kids?

13                 MS. FLORES:     No.

14                 THE COURT:     Let me go to Ms. Azcona before we run

15    out of time.     Have you heard all of that?         Let me ask you --

16    hold on.     Stop.     Let me ask you does this court have

17    jurisdiction over this matter?

18                 MS. AZCONA:     No.

19                 THE COURT:     Why?

20                 MS. AZCONA:     The reason it doesn't is that at the

21    time that she filed this, okay, there was an active Armenian

22    case.   In fact, she filed this and then she appealed the

23    Armenian case.       There was an Armenian case.        They granted an

24    emergency DVRO of her and the kids so she could get emergency

25    passports.     Okay.    They examined evidence.        They looked at the

26    merits of the case.        They granted her the DVRO and my client

27    appealed and overturned it.        They looked at the merits.            They

28    judged it on this.        They did those things.

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 1                THE COURT:      You're telling me that the Armenian

 2    court granted a domestic violence restraining order against

 3    your client that was later overturned?

 4                MS. AZCONA:      It was later overturned and that on

 5    October 3rd which was after this was filed -- remember, we're

 6    looking at when this was filed because you don't need to go

 7    back in time and fix things.         At this time it was filed.          This

 8    court, California, did not have jurisdiction over her or the

 9    children.    They hadn't been here for six months.            There was a

10    Hague matter in federal court.         Additionally, Mr. Dias filed

11    that in Georgia.        He thought she was in Georgia.        That's where

12    her family is from.

13                THE COURT:      Country or state?

14                MS. AZCONA:      That court I don't have it written down

15    so --

16                MS. FLORES:      The state.    Her family --

17                MS. AZCONA:      It was my understanding it was

18    transferred to California but that it was going on.               But more

19    importantly there was an Armenian action with witnesses, with

20    evidence, with previous orders that was still in play.               She in

21    fact appealed it and so for all those reasons I do not believe

22    that this has -- California has jurisdiction.

23                Additionally, if they do it's going to be almost

24    impossible for my client to defend it because his witnesses,

25    the evidences, everything else was in Armenia.              I'm wondering

26    if that would even be res judicata at this point.

27                THE COURT:      Did you have a chance to read the Hogue

28    versus Hogue case that counsel stated?

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 1                MS. AZCONA:     No, I haven't but I will.

 2                THE COURT:     I did not read it either so I will read

 3    it again.

 4                MS. AZCONA:     Again, now they have jurisdiction.

 5    He's been here for six months.        She's a resident.        She could

 6    file it.

 7                THE COURT:     Say they're only here for a week.             There

 8    is an action of domestic violence.          Wouldn't I have

 9    jurisdiction?

10                MS. AZCONA:     Well, yeah, because it would have taken

11    place in California.

12                MS. JACOBSON-KWOK:      Again, I think that Ms. Azcona

13    and I'm not accusing her of doing so deliberately is

14    misinterpreting the law and making representations to the

15    court based upon her misapplication of the law.              Again, if you

16    look at the briefs that she has filed they all rely upon law

17    that has to do with -- not a single one has to do with the

18    subject matter jurisdiction.        That's the key issue here.

19                I will also say, Your Honor, just to rebut what

20    Ms. Azcona said with the status of the Armenian case.               One of

21    the exhibits that was attached to my client's responsive

22    pleadings in this matter is a letter from the attorney in

23    Armenia that represented her in the Armenia case which makes

24    it clear that that case is no longer open.             It's closed.       It's

25    resolved.

26                THE COURT:     Let me ask you this:

27                She files a claim in Armenia claims domestic

28    violence and loses.       Stop.   Loses.    Jumps on a plane, flies to

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 3

 4         STATE OF CALIFORNIA     )
                                   )
 5         COUNTY OF ALAMEDA       )

 6

 7               I, ANITA CRUZ BOYD, DO HEREBY CERTIFY:.
 8               THAT I AM A CERTIFIED SHORTHAND REPORTER

 9    OF THE STATE OF CALIFORNIA;
10               THAT ON THE 5TH DAY OF FEBRUARY, 2025, I

11    WAS DULY APPOINTED BY THE COURT AS A SHORTHAND
12    REPORTER IN THE FOREGOING ENTITLED COURT AND CAUSE
13    AND ON THAT DATE I FULLY, TRULY AND CORRECTLY REPORTED IN

14    SHORTHAND NOTES ALL THE PROCEEDINGS AND
15    TESTIMONY HAD AT THE HEARING OF THE DEFENDANTS, IN
16    THE SUPERIOR COURT BUILDING, HAYWARD, CALIFORNIA,

17    BEFORE THE HONORABLE THOMAS EAGLE WEATHERS, JUDGE,
18    THEREAFTER FULLY, TRULY AND CORRECTLY TRANSCRIBED

19    THE SAME INTO TYPEWRITING; AND THAT THE FOREGOING
20    PAGES 1 THROUGH 26, INCLUSIVE, CONTAIN AND ARE A
21    FULL, TRUE AND CORRECT STATEMENT AND TRANSCRIPT OF

22    MY SHORTHAND NOTES TAKEN AT THE AFORESAID PROCEEDINGS AT THE
23    TIME AND PLACE HEREIN STATED.
24               IN WITNESS WHEREOF, I HAVE HEREUNTO SET MY HAND

25    THIS 28th DAY OF FEBRUARY, 2025.
26

27                                     ____________________

28                                     ANITA CRUZ
                                       CERTIFICATE NO. 6839
                                  ANITA CRUZ
                                   CSR #6839
                         CERTIFIED SHORTHAND REPORTER
